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      October 05, 2021
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  CLERK, U.S. DISTRICT COURT
                                         Case 1:21-cv-00796-RP Document 66 Filed 10/05/21 Page 1 of 3                       October 05, 2021
  WESTERN DISTRICT OF TEXAS                                                                                               CLERK, U.S. DISTRICT COURT
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BY:_______________________________
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                                                       IN THE UNITED STATES DISTRICT COURT
                                                        FOR THE WESTERN DISTRICT OF TEXAS
                                                                 AUSTIN DIVISION

                         UNITED STATES OF AMERICA                                                                   PLAINTIFF

                         v.                                         Case No. 1:21-cv-796 RP

                         STATE OF TEXAS                                                                           DEFENDANT

                                     INTERVENOR OSCAR STILLEY’S MOTION FOR CM/ECF FILING PRIVILEGES

                         Comes now Intervenor Oscar Stilley, (Stilley) and for his motion for filing privileges under

                         CM/ECF, (Case Management/Electronic Case Filing) and states:

                         1.           Up to the present time, Stilley has been following this case via www.courtlistener.com.

                         Stilley never has to wait long for some inky wretch to pay good money for the pleading,

                         whereupon Stilley downloads it for free, thus getting de facto service of court filings.

                         2.           Stilley currently submits his pleadings through the court clerk’s electronic mailbox for

                         pro se filers, a delightful convenience for which he is most grateful.

                         3.           Prior to incarceration on federal tax charges approximately 11 ½ years ago, Stilley had

                         and routinely used CM/ECF privileges in a number of different federal courts.

                         4.           Stilley currently has and uses CM/ECF filing privileges in the Northern District of

                         Oklahoma, (OKND) where his is attacking his federal conviction and sentence in United States v.

                         Lindsey Kent Springer and Oscar Stilley, OKND 4:09-cr-43 SPF.

                         5.           CM/ECF filing privileges for Stilley will reduce work, complication, and expense for the

                         clerk and other parties to this proceeding.

                         6.           Stilley has reviewed the E-filing and E-noticing Registration Form, which must be sent to

                         txwd_ecf_help@txwd.uscourts.gov, along with the Court’s order approving CM/ECF access.


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          Case 1:21-cv-00796-RP Document 66 Filed 10/05/21 Page 2 of 3




7.     Stilley on the form checked the box saying that he is a “non-prisoner pro se litigant.”

What Stilley means by these words is that he is not behind tall double fences topped with coils of

razor wire, with guards patrolling the perimeter, or (perish the thought) in a USP (US

Penitentiary) with gun towers and electric fences.

8.     Stilley is on “home confinement” which means that he is in the “official custody” of

Plaintiff United States, but nevertheless has access to computers and the internet.

9.     Also, Stilley’s CM/ECF login ID, in the Northern District of Oklahoma, is the same as his

PACER account ID, with which he spends money on interesting legal filings he can’t get for free.

Stilley hopes to work with court personnel to attempt to make this same username work in the

Western District of Texas, for CM/ECF purposes.

WHEREFORE, Stilley respectfully requests that the Court grant CM/ECF case filing privileges;

and for such other and further relief as may be appropriate whether or not specifically requested.

Respectfully submitted.


By: /s/ Oscar Stilley                         October 5, 2021
Oscar Stilley
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Cedarville, AR 72932-9246
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oscarstilley@gmail.com

                               CERTIFICATE OF CONFERENCE

       Stilley on October 2, 2021 received an email from Ms. Lisa Newman stating that the

United States does not object to the requested relief. On October 4, 2021, Natalie Thompson

stated that the State of Texas had no objection. Also on October 4, 2021, Heather Hacker stated



                                                 2
          Case 1:21-cv-00796-RP Document 66 Filed 10/05/21 Page 3 of 3




on behalf of the Graham Intervenors that to the extent their position was required, they had no

objections.

                                  CERTIFICATE OF SERVICE

Oscar Stilley by his signature above certifies that he has caused this pleading to be served on all
parties entitled to service, via CM/ECF, upon filing by the clerk.




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